EXHIBIT 4

1987 MAR transcript and Judge Walker’S July 8, 1988 order denying the MAR

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STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
COUNTY OF CABARRUS SUPERIOR COURT DIVISION
Case No. 76-CRS-5708

76-CRS~5709
STATE OF NORTH CAROLINA

VS. TRANSCRIPT OF PROCEEDINGS

 

RONNIE WALLACE LONG,

Defendant.

 

APPEARANCES:
For the State: Mr. Bob Roberts
District Attorney
Cabarrus County, North Carolina
iFor the Defendant: ‘,Mr. Steven A. Grossman

Attorney at Law
Kannapolis, North Carolina

THIS MATTER COMING ON TO BE HEARD during the week Of
December 12, 1987, and being reached for hearing on the 16th
day of December, 1987, before His Honor, Ru$sell G. Walker, Jr.

Judge Presiding, the following proceedings were held, to wit:

 

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WITNESSES FOR THE DEFENDANT:

James Fuller
Erwin Spainhour
Karl Adkins
John Kennedy
Harvey Cannady
Ira Padgett
Estus White
Dale Ritchie

EXHIBITS FOR THE DEFENDANT:

Transcript~

Transcript

Transcript

Transcript

State v. Harbison transcript
Brief

7 - 26. Newspaper articles

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MR. ROBERTS: Your Honor, at this time the State
is calling State versus Ronnie Wallace Long, file numbers
76-CRS-5708, 5709.

Your Honor, on or about August l, 1986, the defendant,
Ronnie Wallace Long, filed a motion for post-conviction
relief. That motion was filed pro se. Subsequently Mr.
Steve Grossman was appointed to represent him in the post-
conviction. Mr. Grossman filed a second motion on behalf of
the defendant and then after State v. Cofield filed a supple~
ment to the second motion, Your Honor, And the matter comes
before the Court this morning for hearing based upon the
allegations set forth in the defendant'S original,amended and
Supplementary motions for post-conviction relief.

MR. GRGSSMAN: Judge, Mr. Long is not in court at
this time; he is in the county jail.

THE COURT: Have you given him a transcript?

MR. ROBERTS: I haven't given him anything.

' MR} GROSSMAN:f . l will introduce the transcript of

the original proceedings into evidence. Mr. Roberts, I
believe, will make that available to the Court.

MR. ROBERTS: Yes, Your Honor, the State will do
that.

Your Honor, I am advised that the defendant's family took

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his clothing home to have it dry cleaned or laundered and has

not returned it to him and at this moment he only has jail
clothing. I thinkthe]aw prohibits his entry in a courtroom
without proper attire.

THE COURT: That's an unusual wrinkle.

MR. GROSSMAN: `I can assure Your Honor we didnit
plan it that way.

MR. ROBERTS: So if it pleases the Court, I will
bring Mr. Speas back in and we will proceed on the other
matter until the defendant gets properly attired.

THE COURT: All right. We don't want to do anything
improper.

-- SHORT RECESS --

MR. GRDSSMAN: Before we broke, I_introduced into
evidence the prior transcript. It's in four documents, or
rather four binders, so I marked them l, 2, 3 and 4. If I
might introduce that formally into evidence and hand that up.

THE coURT: All right, peti_tioner's exhibits l, 2,
3 and 4, being the copies of the transcript of the trial, may
be received into evidence.

MR. GROSSMAN: Thank you, Your Honor,

Your Honor, Mr. Long is present. We call Mr. James
Fuller to the stand.
MR. ROBERTS: Your Honor, I would like to get a

stipulation into the record before we proceed.

 

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THE COURT: All right, Mr. Roberts.

MR. ROBERTS: It's obvious that the Court's going

to have to read those documents and so forth, and we would

call on the defendant to stipulate that the Court can enter

its order out of term and out of district after consideration

of all of the evidence.

MR. GROSSMAN: 50 stipulatcd.

THE COURT: All right, thank you, Mr. Roberts.

JIM FULLER, being duly sworn, testified as follows:

DIRECT EXAMINATION BY MR. GROSSMAN:

Q

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A

Q

State your name, please, sir.
Jim Fuller.

Mr. Fuller, how are you employed, sir?

vI'm a lawyer.

All right, were you so licensed by the North Carolina

Supreme Court in 1972?

A

Q

A.

0

Yes.
And the State Bar, I guess, actually.

Yes.

-AlL right, how long have you been licensed as a

practicing attorney?

A _

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'70 or '7l.
Did you formerly represent Ronnie Long in this case?
Yes.

Do you recall what year and date this case was heard?

Jim Fuller - Direct 5

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A NO.

g All right, to refresh your recollection, does September
of '76 sound about correct?

A Yes, sir.

Q Approximately, if you recall, how long had you been
licensed as a trial attorney, or licensed as an attorney,
prior to September of 1975?

A Six years, I guess.

Q All right. Mr. Fuller, what was your primary practice

in 1976, primary area of practice?

a civil rights flavor. There was a heavy amount of employment

Q 1 As such did you and/or your law firm generally deal with
issues of racial discrimination or alleged racial discrimina-
tion?

A Yes_

Q All right. In this case, and for the record, what is the

Jim Fuller - Direct 6

discrimination, criminal law, and some general civil litigation.

A Criminal law and civil rights law.

Q What law firm were you associated with?

A Well, it went through several combinations and permutations.
It was the Chambers firm; Chambers, Ferguson, Watt, Wallas,
Adkins and Fuller is the name I remember.

Q All right, and at that time what was the primary area of
practice of that law firm, do you recall?

A Well, in some respects it was a general practice but with

 

 

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race of Ronnie.Wallace Long?

A Black.

0 What were the charges in this case, to the best of your
recollection?

A Primary charge was rape. I don't remember what --

Q All right. What was the race of the victim?

A White.

Q What was her approximate age? I don't mean specific but
generalities.

A Considerable older, sixty, seventy -- I don't --

Q Have you at my request reviewed some of the transcript

and attempted to remember some of this case from 1976?

A Well, let me back up a second. I want to be clear about
it. I really have not reviewed the transcript except for just
a few minutes this morning. I didn't have a file because I'm
now in Raleigh. The file, to the extent that we kept a file,
it was the firm in Charlotte. So I think a more correct answer
would be I have tried to remember and I have talked with you
and I have talked with a former partner, Karl Adkins, but I
have not done, I have not gone through the transcript one
page at a time.

Q All right. Do you recall then in 1976 hearing in this
case a motion regarding the racial makeup of the jury?v

A Yes.

Q At that time were you representing or was your firm

Jim Fuller - Direct 7

 

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prosecutors would be less likely to take blacks off the jury.

 

 

representing a number of folks wherein that motion was made,
not specifically Ronnie Long?

A YeS.

0 Describe how you were generally hearing that motion,
leading up to the Ronnie Long case in September of 1976.

A Well, in general we would call the officials responsible
for putting together the jury list. And that would include
the Clerk of Court, the Chair of the Jury Committee, the
Register of Deeds in some instances; could include a Clerk,
that was usually a little more difficult; could include a
district judge and that was equally difficult; but primarily
in each instance we attempted to set out the process by which
jurors came to be in the trial jury.

Q All right. In doing so, what were the issues you were
attempting to look for?

A vWell, we were attempting to show a prima facie case of
racial discrimination, a systemic discrimination, We were
attempting, and l say this as a generality but I think in everj

case, we were attempting to create an environment in which

I'm saying there was a reason in which we hoped, but quite
frankly did not expect, to win on the merits; there was also

a tactical reason to sensitize,. if you will, to put the issue
of race before the Court, before the prosecutor, before us

and our client.

Jim Fuller - Direct 8

 

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v There was one case that my partner, James Ferguson, had had

 

 

 

 

Q Had you had any success at that prior to Ronnie Long's

case?

A I need to answer you a little bit indirectly there.

a successful result at the trial level.' Seems to me that was
Judge Long and seems to me it was Forsyth Superior. Judge
Long, as I recall, had quashed an entire panel. That case
went to the Supreme Court and got pretty rough treatment,
which goes back to what I said a while ago that I honestly,
I'm not trying to volunteer if this is not what you're looking
for, but I didn't really'expect most of those motions to be
granted --

Q 1 understand.

A -- because I thought it was a pretty difficult burden,
and in the one instance where our firm had had success, what
seemed to me like a pretty clear case, the State Supreme Court
had reversed.

Q All right. Leading up to Ronnie Long's case, you were

still making these motions, correct?

k Yes.

Q Do you recall the case of state versus William Harbison,
Jr.?

A Yes.

MR. GROSSMAN: Your Honor, if 1 may, the case is
cited as 293 N.C. 474, 238 S.E.Zd. 440. I have made a copy

Jim Fuller - Direct 9

 

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1 of it; of course, it's in the Reporters; if I may mark it as

'21i Exhibit 5 and approach the witness to show him.

3 THE COURT: All right.

4 i Q.l b Have you seen the Supreme Court report in this case?
5i A Yes, I was counsel of record on appeal to the Supreme
6 Court.

7 Q Were you also counsel at the trial level, or co-counsel
a at the trial level? l

9 A Co-counsel; that was a fairly unusual -- yes, I was co-
10 counsel.

n 0 What was the date of that trial, if you would refer to
12 the opinion?

13 A I don't know. If you would know I would be happy for you
14 to point me to it. I just don't see it.

15 MR. GROSSMAN: May I approach the witness, Your

16 Honor?

17 THE COURT: You may.
18 Q Okay, in reviewing that case, do you see a date of
19 trial?
20 A Yes, the opinion by Justice Huskins says the case was
21 called for trial on 30 August l976.
v 22 Q And that was approximately three or four weeks before
23 the Long case, the record speaking for itself?
24!‘ A I really can't answer; I can't argue either way. I just
25 don't remember when,the date of the Long trial, v

Jim Fuller - Direct 10

 

 

 

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Q All right. In that case l believe you asked for con-
tinuance to explore the jury, the makeup of the jury -- in

the Harbison case, Is that correct?

k Yes, sir, Mr. Grossman, I asked for a bunch of continuan-
ces for a bunch of reasons in thencase;fwe had only been in it
for about a week.

Q All right, and the Court did what?

k Well, I mean it was in several parts. Judge Friday
denied the continuance and in what was a very unusual move
allowed appointed counsel to stay in the case, allowed the
State to pay my friend in Morganton, allowed us to participate
as co~counsel because coming in a week or ten days before
trial we were certainly in no position to be lead counsel.

On the morning of the trial we renewed -- that was done the
week before. That was done the day after we got in the Harbi-
Son case, The morning of the trial we renewed a motion to
postpone. We also in that instance for the first time made a
motion to delay to allow us to investigate.

Q' Regarddng the jury?

A Yes.
Q And that was denied also, was it not?
A Yes.

Q The Supreme Court then affirmed the denial of that
continuance to investigate the jury?
A Yes.

Jim Fuller - Direct ll

 

 

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Q Subsequently in Mr. Long's case?

_ A. Yes.

Q Now, when you came to Cabarrus County to try Ronnie Long,
I believe you made a motion to quash the indictment or quash
the jury on the same grounds regarding systematic exclusion
of blacks, is that correct?

A Generally correct; I don't remember with any precision

after eleven years.

0 All right. You did not file a written motion, to your
recollection?
A I really don't remember.

Q Do you recall talking to Judge Wood on the day of the
trial in that matter as to your intention to file the motioni

or to have the motion heard?

A No.
0 Do you recall making the motion on the morning of trial?
A Yes.

Q Did you talk with any of your witnesses prior to trial
in that matter? l

A I don't know.

0 }DOf*yOurEdded Mr. Estus White, Clerk of Court; Do you
recall that?

A Yes.

0 Do you recall whether you spoke with him at any time
prior to trial in this case?

Jim Fuller - Direct 12

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Case 1

 

A Well, the reason I have to hedge is I remember talking
to Mr. White; I don't remember if it was in this case or
another case, I just can't say for sure.

0 Okayl Do you recall that you called Jim Bonds in the
case, the former Register of Deeds?

h I guess.

Q All right, do you -j

h I mean no, I don't remember it, really, but that's what
we would usually do.

Q Do you recall whether or not you talked with Jim Bonds
before his testimony in the case?

A NO.

Q Is that no you don't recall or no you did not talk with
him? 1

A Don't recall:

Q All right, you called the head of the jury commission,
James or John Robinson, Mr. Robinson. Do you recall -- is
that a yes?

A` I don't remember Mr. Robinson. I certainly don't --
0 Is it your normal procedure to call the head of the
jury commission?

A Yes.

0 Would the record speak for itself as to whether you would

have called Mr. Robinson?
A Sure.

Jim Fuller - Direct l3

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Case 1:

 

 

 

Q -Okay. Do you recall whether or not you ever spoke with

Mr. Robinson prior to hearing the motion?

A No.
0 No you do not recall or no you didn't talk to him?
k The question was did I recall and the answer is no.

Q All right. Do you recall in that case that there arose

a question as to names being stricken off the master list forl
the jury pool?

A No.

0 .Do you recall whether or not in that case ~- the Long
case, I'm speaking of -- there was a question as to the Sherif
striking names from the master list under Mr. Robinson's

direction, or at Mr. Robinson's request?

A NO.

Q Do you recall whether you subpoenaed the master list?
A No, sir.

Q Do you recall whether or not you called a Deborah

Ballington? I believe you called her a different name back
then, D.J. Do you recall that?
A I certainly remember that she was a secretary-paralegal
in the office. I could not tell you under oath what we asked
her to do on that day in this case, eleven years ago.
MR. GROSSMAN: ,May I approach the witness, please?
THE COURT: You may.

0 Mr. Fuller, directing your attention to page 36 of

Jim Fuller - Direct 14

 

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Case 1.

Defendant's Exhibit l, if you would see if that might refresh
your memory. Does that refresh your memory as to calling one

Deborah Ballington as a witness?

h NO.
0 It does not?
k I'm not trying to be uncooperative. I mean obviously she

was called; I certainly know who she was; but if you're asking
me do I have now an independent recollection of what she did
in this case eleven years ago, I just have to truthfully say
no. Whatever it says, it says.

0 All right, whatever it says the record would reflect
what you did back in 1976?

A We did the appeal, so I'm sure we agreed that the
transcript and the record were correct because we filed it in
the Supreme Court.

Q Do you recall how many jurors there were in the jury pool
in 1976 on the Ronnie Long case?

A NO.

04 Do you recall whether or not you spoke with Judge Wood
regarding the number of blacks in the jury pool?

A _No. t

Q All right. Do you recall whether they had to bring in
extra witnesses -- or rather, excuse me, extra jurors?

A.` No.

0 All right. You do recall, however, making the motion on

Jim Fuller - Direct 15

 

 

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Case 1.

the day of trial?

A Well, no. To be candid, I recall making the motion, and
I have heard from you or somebody that it was on the day of
trial, So I won't argue with that. I just --

0 Do you recall whether or not you attempted to secure
statistical proof as to the percentage of blacks in the
community?

A lid have to tell you that's what we usually did.

Q All right. Again --

k With census track data.

Q All right, do you recall whether or not you reviewed
prior jury lists to determine prior jury pools and their
percentages of racial disparity, if any?

A _No, but probably not.

0 lAll_-:rig.ht.

A In general, that was just not a very successful route.
You can cut me off if I'm answering something you're not
asking.

0 No, that's fine.

k But whether in this case or another one, a prior jury
list would have a hundred and fifty names on it, say, and.
other than going around and knocking on a hundred and fifty
doors, which didn't seem to be pragmatically possible, or
using some kind of sophisticated census track racial composi-
tion which was also difficult, to say the least, it just

Jim Fuller - Direct 16

 

 

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wasn't very helpful to me to have a prior jury list with a
hundred and fifty names on it, or whatever the names were,
because there was no racial identification as I remember.

0 All right, do you remember the average number of the jury

pools in Cabarrus County in '75, '76, '74?

A No, sir.

Q Okay, you don't know if it was a hundred and fifty or
forty?

A Correct.

Q All right. 'To change the subject, Mr. Fuller, are you

familiar with Cabarrus County, North Carolina, or were you in
1976 familiar with Cabarrus County, North Carolina?

A Well, generally. I mean I practiced law in Charlotte
and we handled a few cases over here, but j-

0 Did you handle any cases in Cabarrus County of the

severity of State versus Long?

A Yeah.
0 How many, do you recall?
k No. I remember one murder case that I think ended up

 

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being a plea, not a trial, No, I would say that the firm had
several, and as far as l can remember I was involved in two,
this and the one I --

0 Are you familiar generally,`or were you familiar in 1976
generally with the racial makeup of Cabarrus County?

A. 'N.o .

Jim Fuller - Direct l7

 

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Q Did you investigate the racial makeup of Cabarrus County
prior to the State versus Long case?

k I'm not sure, but probably.

0 This was a case of a black man, young black man, charged

with the rape and burglary of a middle-aged white woman,

correct?
A Correct.
0 Was there, pretrial, some feeling within the community

regarding Ronnie Long? Let me rephrase that. Was there

prior to trial a defense network set up for Ronnie Long, to
your knowledge? v

A I'm not sure what a defense network is. There were a lot
of people who had an outspokeniinterest that on occasion they
shared with us.

Q All right.

A It was a committee, as I recall, the Ronnie Long
Committee,

Q Were these people to your knowledge active in the
community pretrial?

A It seems to me they were not all from~Concord, but I know
there were some people from Concord who lived in the black
community here who were active in civil rights issues and
who were very concerned about this case,

0 All right. Describe, if you would, to your knowledge the
racial makeup of that committee; that is, was it predominantly

Jim Fuller - Direct 18

 

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black, predominantly white, or --

A Best I remember it was predominantly black but mixed.
Q When you came to the courthouse in September 1976 for
this trial, describe the atmosphere around the courthouse

to your recollection.

A It was very tense and racially polarized.

Q Describe the crowd, if that's a correct term, around thel
courthouse. 4

A I'm not sure I understand how that --

0 Was it a predominantly black crowd, predominantly white
crowd?

A It was split literally in half.
Q l All right.

A With half sitting on the prosecution_side and half sitting
on the defense side, and the white folks were on the prosecu-
tor's side and the black folks, with a few, sort of a salt and
pepper sprinkling of whites who were in the group of
supporters, on our side.

Q` Were there demonstrations going on or not at the time

the trial began?

k I don't remember any; I have heard that there were but

it just doesn't ring a bell with me today. There were
demonstrations afterwards that I remember but not before.

0 All right. Were there -_ well, perhaps demonstrations

is the wrong word. Were there supporters marching around the

Jim Fuller - Direct l9

 

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courthouse for Ronnie Long at that time?

A I really don't remember.

0 Were there folks -- strike that. Was there a crowd

in the courtroom at that time; was the courtroom crowded?

A Yes, sir. I meant to say a minute ago ~- what I was
describing in the sense of the two groups was in the courtroom

and as best I remember it was pretty well packed.

0 Standing room only, to your recollection?
A I just don't remember.
0 Do you recall whether it was necessary to be searched

to even enter the courtroom?

A No.

0 You don't recall?

k Correct.

0 Did you or Mr. Adkins investigate in the community the

feelings about Ronnie Long prior to trial?
A Well, I mean that's a little hard to get a clear handle
on, but yes, in general. I mean we read newspaper articles,

we talked to a lot of people.

0 Did you consider the issue of change of venue?

A ‘Yes.

0 Did you file a written motion to change the venue?
A I don't remember.

0 Did you make any oral motion for change of venue?
k

I don't remember.

Jim Fuller - Direct 20

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Q Do you recall whether a motion for change of venue was

ever made?

h No.
0 You don't recall?
A I do not recall if we made a motion; I don't believe so.

0 All right, I believe you said you did discuss it. Do you
recall what you were discussing about the issue?

A Yes. I remember discussing it with my partner, Karl
Adkins. I specifically remember discussing it with some
members of that committee, whatever the committee's official
name was, And I believe we discussed it with the family more
in the sense of explaining why we were not going to file a
motion for~change of venue.

0 All right.

A The considerations were that we thought that it would be
likely if we were able to sustain the motion that the case
would go to Salisbury. l had worked on an employment discrim-
ination case against Cannon Mills and I, as I remember one of
the bigger plants was in Rowan County, So as we looked ahead
and considered the things that might happen, one of them was
to go to Salisbury -- I'm going to be really candid now -- I
grew up in Salisbury and I happened to know that there was
also some pretty heavy Klan activity over there, As I recall,
the former Grand Dragon used to live down at China Grove or
one of those little towns around there, And our thought was

Jim Fuller - Direct 21

 

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we were getting out of the frying pan into the fire if that
happened, and to some extent the same was true if we ended up
in Monroe. I guess what I'm saying is, as we considered the
options, we couldn't see that things were likely to get any
better. We had no reason that I'm aware of, that I was aware
of, that we could go to Charlotte or Raleigh or someplace wher
the.issues would be more neutralized, and we thought it was
important that Mr. Long and his family have support. I don't
know how many of the supporters could have gone to Monroe or
Southern Pines or somewhere else in the district. We assumed
if it was changed it would be within the judicial district

somewhere.

0 You made reference to Monroe.

A Yes.

Q Do you know what the judicial district was in 1976?
'A I don't.remember. As I recall, it was my assumption,

and I can't tell you now whether this was based on research
or just`understanding, was that a judge would look first to
contiguous counties; secondly he would look to other districts
within -- would look at other counties within the district;
would then look to other geographically-close districts; and
all those things together made us think that Rowan, Union --
what's the railroad county south where Hamlet is -- anyway,
that there were a group of counties where it would be likely
to end up, and in our judgment the racial climate would not

Jim Fuller - Direct 22

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be any better, Mr. Long would be more isolated, if you will.
0 You did not, however, make a motion trying to set out
your reasons for why it should not go to a particular county,
did you?

A I really don't remember making any motion at all.

Q All right.

A I'm not saying that I did or didn't; I'm just saying
that we discussed that question and I could not tell you
whether we got the right or the wrong answer, but that was
the process that we used to get there.

0 In doing so, did you acknowledge, as you called it, the

racial polarity in this case?

A You mean in our consideration?
Q Yes.
k Certainly. Also, I think that that's not always -- I

mean that's something that we all wished was not there, but

it doesn't always act against the defendant, particularly

if there are blacks on the jury. And in this instance I think
there was a sense on our part that you kind of had, in one
sensev a giant corporation, and all the powers on one side,
and him on the other; sometimes that can appeal to a jury.

0 -Coming to that, sir, the victim in this case we have
talked about a little bit. Also, did she have some connection,
to your recollection, to Cannon Mills?

A That was my understanding, but I don't remember now what

Jim Fuller - Direct 23

 

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it was.

0 As Such, did you consider -- well, strike that. Do you
recall whether or not she was married to a former officer at
Cannon Mills?

k Best I can do is say that sounds sort of right. And
again, Mr. Grossman, I'm not trying to be evasive; I_just
don't -- I guess l have decided there has been more water
under this dam than I might have guessed. A lot of things
have happened in eleven years, and I just really don't remem-
ber a lot of things in this case, I'm not trying to be un-

cooperative, either with you or Mr. Roberts.

Q Did you participate in the motion to suppress in this
case?
k I did the case as equal co-counsel with my partner, Karl

Adkins, so in that sense I participated in everything, as did
he. I don't remember who actually conducted the hearing or
exactly what took place.

0 All right. Do you recall whether or not you interviewed
witnesses prior to trial regarding the motion to suppress?

k I think so.

Q Beg your pardon?

A I think so, I know we talked to Mr. Long, Seems to me

we talked to some police officers that Mr. Roberts made avail-

able over in the jail.
Q At some time?

Jim Fuller - Direct _ 24

 

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Case 1J

_grand jury foreman or lack thereof?

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k I can't tell you when. Here's my best recollection, and
I know I'm under oath, but I have to say I really can't swear
to this. My best recollection is we went to Mr. Roberts and
said, "Here's what we need to do, we need to talk to this
person and this person," and as I recall he said not only fine
but he would sort of set it up. I think he made the call.

Q How old was Ronnie Wallace Long at the time of this trial,

if you recall?

A Young, but I don't remember -- twenty?

Q All right. Do you recall what his education was?

A. ' No.

0 Do you recall how he got to the police station that night“
k No.

Q All right. Did you at any time consider a motion regard-

ing blacks on the grand jury?
A No.

0 Did you at any time consider a motion regarding a black

k No.

0 'Were you familiar with the body of law regarding dis-
crimination of blacks on grand juries, similar law to petit
juries?

A I can't say with any clarity what I was familiar with
that long ago.

Q All right.

Jim Fuller - Direct 25

 

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A I guess in general;our firm did a lot of cases involving
racial discrimination, I don't remember one involving a grand
jury. I am comfortable that we did not seriously consider
one in this case, Beyond that l can't tell you.
0 Is it a fair statement that your firm in general, and
you and Mr. ~- well, you can't speak for Mr. Adkins -- and
you in particular,w kept Mup with discrimination law in 1976?
k Certainly tried.
0 Is it a fair statement, Mr. Fuller, to say that it was
standard to prepare a case before trial in 1976?
A Or any other time, yes,
0 Is it a fair statement to say that when you make a motion
or made a motion in 1976, that you would prepare it prior to
the hearing?
k Sure.
0 Is it fair to say that that was a general standard in
this area at that time?
A .I would be uncomfortable saying what the standards were
in this area, although I think it would be standard in any
part of the state and it was certainly standard in our office.
0 All right.

MR. GROSSMAN: May I have a moment, Your Honor?

THE COURT: Yes, sir.

MR. GROSSMAN: No further of this witness, Your
Honor.

Jim Fuller - Direct 26

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1 THE COURT: Mr. Roberts.

2 `C`ROS`S EXAMINATION BY MR. ROBE`RTS:,

3 0 Mr. Fuller, at the time of this trial I think that the
4 firm of which you were a partner was commonly referred to as
5 the Chambers Firm?

'¢ h Yes, sir.

7 0 Headed by Julius Chambers?

3 A Correct.

9 Q And essentially your field of expertise or your reputa~
10 tion in this state was civil rights, racial discrimination and
11 matters of that nature, would that be fair to say?

12 A Yes, sir.

13 0 And every member of the firm was indoctrinated to those
14 purposes by nature that associated with your firm; they knew

15 that those were the endeavors of that firm?

 

16 A l think -- let me just say it a slightly different way.
17 1 don't think anybody would apply to that firm who didn't come
18 with a commitment to deal with issues of racial inequality
19 and, I mean everything from handling an auto case where we
20 were concerned that injured black people recover the same_
21 types of money that injured white people did; the notion of
22 racial disparity, discrimination, really covered everything we
23 did from handling small businesses to handling major employ-
24 ment discrimination and criminal cases.
_25 0 And your reputation for those matters was well known
. Jim Fuller - Cross 27

 

 

 

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throughout the state?

A I wouldn't want to address mine, but the firm's certainly
was.

Q I'm saying the firm, too.

A Yes, sir.

0 And your firm was privately employed by the family of
the defendant, Ronnie Wallace Long?

k Yes.

0 Now, Mr. Fuller, Mr. Grossman referred to atmosphere
around the courthouse. There were supporters of Mr. Long who
were picketing or otherwise doing something outside the court-
house while we were picking the jury, were there not?

A I really don't remember, Mr. Roberts. I understood from
Karl that was correct;

Q v All right, sir.

A But I just don't remember one way or the other.

Q All right, sir. Now, do you recall, Mr. Fuller, whether

or not there were black jurors on the panel?

k There were,

0 Do you recall whether any were called to the actual jury
box? d

A My best memory is that there were four blacks called and
Seated.

Q I believe the defense excused them, did they not?

A You mean us?

Jim Fuller - Cross 28

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.that basically said, "You'd rather not sit on this jury,

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0 Yes.

A I don't think so.

Q Do you not -- whether you recall or not, Mr. Fuller, I
can understand in the passing of eleven years -~ do you
recall an elderly black man who had worked at Cannon Mills
for about forty years making a statement, "If they bring him
in the courtroom charged,_he's guilty"? He made that state-
ment, he was excused, and others.

A I really don't.

0 And I think the State had to excuse two jurors because
they lived in the same block that the defendant and his fmily
lived; do you have any recollection of that?

k I remember one juror in particular, Mr. Roberts, because
I remember just really sweating blood trying to get a for-cause
challenge in hopes that we could get a black person into the
jury, and this is my characterization, not Judge Wood's, but
my sense of what he said was, "You all have fought so long and
hard on this, I ain't sure you are entitled to it, but I'm
going to give you the challenge because if you will quit." I
mean we just went on and on and on, And he allowed the
challenge because the black woman, as I remember, came into

the box and my recollection is that you asked a few questions

wouldn't you?" and she grabbed at the chance and was gone.

And I remember kind of feeling deflated. That's the only

Jim Fuller - Cross 29

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_going to Rowan County which had all the Klan activity,

 

 

specific recollection I have of the three or four black people
who actually took a seat.

0 All right, sir. Now, Mr. Fuller, I believe, as I under-
stand your testimony, that it was a well thought out type of
strategy that you, in fact, did not want a change of venue,
based on all attendant circumstances and options that you
were faced with?

A Mr. Roberts, it was a carefully considered; I would not
make a judgment as to whether it was right or wrong, I

think somebody else has to do that. We did what we thought
was in Mr. Long's best interest. There was no other consider-
ation.

0 The suggestion in the motion here is that that decision
was made the day the trial started, but what I'm asking you,

that was a well thought out thing about your alternatives of

possibly Albemarle, and you knew the track records of these
counties, and it was a determined strategy that your client,
with his local support, would be better off in Cabarrus County

than the alternatives that you could consider?

A _ Let me take that in pieces.
Q.4 Okay.
k Actually, I have never seen the petition in this case

so l can't respond to that. I can tell you that whatever we
did in court on the day of trial, I am comfortable that we

Jim Fuller - Cross 30

 

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didn't just -- well, we didn't wake up at 7;30 on the morning
of trial and say, "Gosh, here's what we're going to do." And
particularly with regard to the chance of venue. That was
something we discussed over a long period of time and a
decision that evolved. It wasn't an instant decision on the
morning of trial nor two weeks before trial, It was our
determination, given the totality of the situation, that Mr.
Long, given some unattractive options, that trial here was
probably best for him. And as I said, I don't know if that
was right or wrong; I'm telling you that we did it with his

best interests and for no other consideration.

Q But it was done after deliberation and thought?
h Yes.
Q All right, sir. Now, Mr. Fuller, at some time, do you

recall, sir, being invited to speak to the District Attorneys
Association in Chapel Hill at one of our educational con-
ferences?

A ,I do, indeed.

0 Do you recall, sir, approximately when that was?

A No, it's downstream a while but I don{t remember exactly.
0 All right, do you recall the subject of the panel that

you were_on, or were you a primary speaker? I can't recall,

.A I think I was primary speaker and it had to do with pre-

trial motions in a capital or life criminal case.
Q All right, sir. And do you recall being generally

Jim Fuller - Cross 31

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harrassed by the district attorneys?

A I recall being ambushed by two in particular who came up
later and smiled and said "no hard feelings," and I smiled
back at them; l didn't say anything.

Q All right, sir.

A It was a pleasant environment; it was certainly sort

of sharing the wares with the adversaries, if you will.

0 All right, sir. And do you recall that in conclusion in
your parting shots that you made a very serious plea to the
district attorneys to be fair with regards to racial equality
and so forth in the courtroom?

A I do remember that.

0 And do you also recall a district attorney insinuating
to you that you claimed that no one had ever been treated
fairly to your clients in the state of North Carolina, and
more importantly do you remember what you told them about
Cabarrus County?

A -I did not until right this minute because you and I have
really not talked about this.

0 That's right.

A As I remember it, it was Don Jacobs from Goldsboro who
basically wanted to know if l thought everybody I had ever
represented had been unfairly treated, and I can't quote this,
Mr. Roberts, but I believe I told him I thought you had been
imminently fair in every case that we had had with you. I was

Jim Fuller - Cross 32

 

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not addressing any particular case, but as`I said to Mr.
Grossman a minute ago, a series of cases with Chambers and
Ferguson and me and Karl and we were involved in every case.
I may be rambling more than you're asking for now, but what
I'm saying is that if Ferguson did a case, we met about it.
I may never appear in the courtroom, but we tried to share
ideas and help each other, When Karl and I did the Long case,-
I don't have a distinct recollection but I'm as sure as I sit
here that Ferguson and Chambers and I don't know, whoever, and
everybody in the firm did what they could to help us. I
remember the plea or the admonition to the district attorneys;
I remember telling them that I thought they wouldn't lose,
number one, they wouldn't lose convictions, that black people
would be fair, and that it didn't make sense to take blacks
off the jury; if people were guilty, they would be convicted.
And I remember saying secondly that in the sense of repre-
senting the whole community and having verdicts that the
whole community would accept, it would be very helpful to the
cause of civil rights and human rights if black people, as
well as whites, sit on the jury. But I do_remember telling
him that you were fair and I still say that, certainly with
regards to any dealings that you and I had.

MR. ROBERTS: All right, sir. Thank you very much,
Mr. Fuller.

THE COURT: Anything further, Mr. Roberts?

Jim Fuller - Cross 33

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Mr. Roberts, anything further from this witness?

MR. ROBERTS: No, Your Honor.

THE COURT: All right, sir. Mr. Grossman, anything

further?

MR. GROSSMAN: No, sir.

MR. ROBERTS: Your Honor, Mr. Fuller has a commit-

ment in Durham and with defense's permission I would like to

excuse him permanently.

MR. FULLER: I would appreciate it.

THE COURT: May he be excused, Mr. Grossman?
Mk. GROSSMAN: Thatfs fine with me, Judge.
THE COURT: Thank you, Mr. Fuller.

(The witness is excused.)

'ERWIN`SPAINHOUR,'being duly sworn, testified as follows:

DIRECT EXAMINATION BY MR; GROSSMAN:

Q What‘s your name, please?

A Erwin Spainhour.

Q Mr. Spainhour, do you practice law here in Cabarrus
County?

A Yes, I do.

0 For how long have you practiced law in Cabarrus County?
k Since September of l970.

20 Do you recall the Ronnie Long trial?

A Yes.

0 Did you watch the trial?

Erwin Spainhour - Direct 34

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`CROSS EXAMINATION BY MR. ROBERTS:

A I was in and out of the courthouse; I don't recall having
the time to sit around and watch more than just a few minutes
of it at a time.
Q You weren't here during the course of the trial sitting
in the courtroom watching? v
k No, but I was in and out of the courthouse all the time.
0 For a period of six years prior to the Ronnie Long
trial, did you practice in court in Cabarrus County regularly?
A Yes.
Q As such, were you familiar with the standards of
attorneys in Cabarrus County toward preparing motions prior
to court?
A Yes.
0 Was it a general standard or not in Cabarrus County to
prepare a motion prior to court and investigate it before pre-
senting it in court?
A Yes, it was.
0 »Thank you.

THE COURT: Mr. Roberts, do you want to ask anything'

MR. ROBERTS: Yes, Your Honor.

Q Mr. Spainhour, do you know the prior witness, James
Fuller?

A Yes, I do.

Q How long have you known him?

Erwin Spainhour - Cross 35

 

 

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`the years?

,Q Do you, Mr. Spainhour, hold any position with the North

 

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A Since he and I were freshmen together at Davidson College

in 1960.

Q And have you kept in general contact with Mr. Fuller over

A On and off over the years we have run into each other,
yes,
0 And do you know Karl Adkins, the co-counsel in this case?

A Yes, I do.

0 And how long have you known Mr. Adkins?

A I've known him for several years. we would run into each
other in court from time to time. I remember one time in

Kannapolis we happened to run into each other. But l have

known him well for the last two or three years.

Carolina State Bar?

A Yes, I do.

Q And what is that, sir?

A I'm the Counselor for Judicial District l9-A, represent-
ing Rowan and Cabarrus counties on the North Carolina State
Bar Council.

0 l Are you familiar with any position that Mr. Adkins may
hold with the North Carolina State Bar?

A Yes. He also is Counselor from the Mecklenburg District,
one of five, I believe, from Mecklenburg County, and Mr.

Adkins and I sit on several committees together, including the

Erwin Spainhour - Cross 36

 

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.grievance committee.

0 And in 1976 when this case was tried, were you generally
familiar with the firm referred to as the Chambers firm?
A Yes, I was.
0 Do you have an opinion, Mr. Spainhour, as to the reputa-
tion of that firm with regard to individual rights?
A Yes, I do.
Q And what is that opinion, sir?
k An excellent law firm,
0 And do you have an opinion, sir, as to the general
reputation of Mr. Fuller with regards to the practice of law?
A Yes, I do.
0 And what is that?
A He's an excellent trial lawyer.
0 And do you have an opinion as to the_general quality of
Mr. Karl Adkins as a practicing attorney?
A Yes, I dol
Q What is that?
k He also is known as an excellent trial lawyer.

MR. ROBERTS: That's all the questions I have, Your
Honor.

THE COURT: You may step down, Mr. Spainhour.

MR. SPAINHOUR: Thank you.

THE COURT: You may be excused.

(The witness leaves the stand.)

Erwin Spainhour - Cross 37

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KARL'ADKINS,'being duly sworn, testified as follows:

`DIRECT EXAMINATION BY MR. GROSSMAN:

 

0 Your name, please, sir?
A My name is Karl Adkins.
0 Mr. Adkins, are you licensed as a practicing attorney in

the State of North Carolina?

A Yes, I am.
Q When did you receive your license?
k I received my North Carolina license in 1972.

Were you licensed in another state prior to that?

P 53

In Michigan.

0 All right. How long have you practiced law?

k Since 1972.

0 All right, sir. You received Michigan the same year?
A I clerked for a federal judge for a year in Michigan.
0 All right. In 1976 were you associated with a law firm

in Mecklenburg County?

A I was.

0 What law firm was that, sir?

A The Chambers law firm,

0 The one we have referred to earlier this morning?

A Yes.

Q And as a part of your duties, were you active in the

representation of Ronnie Wallace Long in a trial in September
of 1976 in Cabarrus County?

Karl Adkins - Direct 38

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A Yes, sir.

Q What was your position related to Ronnie Long?

A Jim Fuller and I were co-counsel.

Q All right. Do you recall when this trial was?

A I know it was in 1976, and if you say September, that
sounds about right.

Q All right. When did your firm, if you recall, and your~
self in particular, become involved with this trial or this
warrant or indictment or charge?

A. I don't remember the date; sometime, obviously, before
September of '76.

g Do you recall approximately how far before September of
'76 your firm became involved?

A I don't have any independent recollection of that. There
is a note somewhere in the file of where, I think, Chambers --
my law partner, Julius Chambers -- talked with Mr. Long,

Q Was that Mr. Ike Long?

A Right.

Q All right, sir.

A But I don't remember the date.

Q .For the record, who is Mr. Ike Long?

A The father of Ronnie Long.

Q Do you recall when you all talked with Ronnie Long for

the first time?
A. The date, no. ,

Karl Adkins - Direct 39

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Q Do you recall approximately how far before September of
P76 you talked with Ronnie Long for the first time?

A I don't remember.

Q Did you at any time, to your recollection -- strike that
and let me go back. Have you reviewed what is left of your
file?

A I have looked over it, yes,

Q All right, and has that in anyway refreshed your recol»
lection towards this case or have you been able to recall much
about this case?

A I don't recall much in the way of detail; the file has
been helpful on a couple of questions you asked me about.

Q Regarding the search issue?

A Yes, sir. I reviewed the brief that we filed in the
North Carolina Supreme Court.

Q All right, do you have any recollection, either indepen-
dently or after refreshing your recollection from your file,
as to aspects regarding the jury selection and the motion we
have talked about with Mr. Fuller?

A What has been testified to sounded pretty much the way

I recall it.

Q As to the standard practice of what's been called the
Chambers law firm, do you agree that the general rule was to
put up that list of witnesses Mr. Fuller testified to?

A Best of my recollection, yes,

Karl Adkins - Direct 40

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Q Did you participate in motions of that sort in other
trials?

A I'm sure I have but I couldn't tell you right now.

Q Prior to '76?

k Yes.

Q All right. Do you recall whether you discussed with
Mr. Fuller that motion regarding Ronnie Wallace Long?

A That motion?v '

Q Regarding the systematic exclusion of jurors or the

racial disparity in the jury pool?

A I don't recall any specifics; I feel sure we talked about
it.
Q Do you recall whether there was ever any investigation

undertaken to determine percentages of blacks in the jury pool

in Cabarrus County?

A No, I don't recall.

Q You don't recall. That is not to say that it was or it
was not?

A 1 just don't remember.

Q Do you recall whether or not there was any pretrial dis-

cussion with Mr. Robinson who testified at the trial?

A I don't remember.

Q Do you recall whether there was any pretrial discussion
with Mr. White who testified at the trial?

A Don't remember.

Karl Adkins ~ Direct 41

 

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1 Q Do you recall whether there was any pretrial discussion
§ with Mr. Bonds who testified at the trial?

3 A I don't remember that either.

4 Q Do you recall whether there was any pretrial discussion
5 or investigation whatsoever of the motion to quash the indict-
6 ment due to systematic exclusion of jurors?

7 A l don't recall.

8 Q All right. Do you recall reading a transcript of this
9 case at sometime in the past?

10 A Yeah, when I prepared the brief.

11 Q You did prepare the appeal?

A I think that I did; I signed it.

12
13 Q All right. Let me --

 

MR. GROSSMAN: Your Honor, l have a copy of

14

15 defendant appellant's brief I'd like to mark as Exhibit 6.

16 For the record, I'm not sure I introduced Exhibit 5. If I

17 might introduce that which is the State Versus Harbison. Let
18 me approach the witness, if the Court please, on Exhibit 6.
19 Q I hand_you, Mr. Adkins, a copy of what I have marked as
20 Defendant's Exhibit 6.

21“ MR. GROSSMAN: I'd introduce Defendant's Exhibit 5.
22" Q Could you check the last page to see if that is your

23 signature? Maybe it isn't on there.

24 A. Well, it's typed; my name is typed on there.

 

 

 

25 Q To the best of your recollection in reviewing your record$,
Karl Adkins - Direct 42
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1 did you file the brief in State versus Long and argue the

&w/ .2 appeal?

3 A I'm sure I caused it to be filed; Mr. Fuller and I were

4 having a debate about who argued it. I don't independently

5 remember arguing it, but l filed the brief.

.¢ g Let me show you, if I might, a copy of the opinion in

7 State versus Long, which l will not introduce but just show

3 it, if that's all right.

9 k If it says I did, I don't have any doubt that I did.

10 Q Well, for the record, if I might approach the witness,
\1 State versus Long, it says Karl Adkins for the defendant

12 appellant. Do you agree, then, that you appeared for Mr.

13 Long in the appeal?

14 A Yes.
'15 Q All right. As such, and in preparing that brief, did you
16 at any time include in your issues which are in your brief

17 the issue of systematic exclusion of black jurors as argued

 

at the trial level?

 

 

18
19 A That is not an issue that is listed under the questions
v_ 20 presented.
j§N' 21 Q . All right, do you recall why that issue was not included?
,:Wf 22 A No.
iii 23 g Are you familiar with Cabarrus County, North Carolina?
xix 24 k Yes, I have been over there several times,
&:' 25 Q Were you familiar with Cabarrus County, North Carolina in
Karl Adkins - Direct 43

 

 

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1976?
A Yes, probably more then than I am now.
Q All right. As such, had you tried many cases in

Cabarrus County, North Carolina?

A In 1976?

g Yes, sir.
k l had been involved in some cases, I couldn't tell you
the number. And I think -- well, I have been involved in

some cases but I don't know how many.

Q All right. Prior to your discussions with Mr. Fuller, I
believe- within the last twenty-four hours, did you have any
independent recollection of the question of change of venue
in the Long case?

k No.

Q Has he refreshed your recollection?

A Yes, he did.

Q I believe you would corroborate what he testified to, is
that correct?

A I would_

Q Now, for the record, what is your race, Mr. Adkins?

A I'm black.

Q Did you review the issue, the potential racial issue, in
State versus Long prior to the trial in the case?

A Yes. We were very concerned about that because, first
of all, it was a black man charged with raping a white woman

Karl Adkins ~ Direct 44

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in a small town that had a reputation of being run by Cannon

Mills. There was a lot of concern in the community, polari-
zation.

Q Would you reflect on that polarization for a minute?

I believe Mr. Fuller testified to the same thing.

A Well, there was a group of people who felt that Ronnie
Long had been unjustly charged and felt that the quality of
justice in this county in general was not what it should be,
and that this case was but another example of that racist'
system.

Q Was that position or statement or feeling made general

to the public by that group of people?

A I don't know how general it was, but that was certainly
discussed.
Q All right. Were there rallies on behalf of Mr. Long

prior to trial, to your knowledge?

A I recall there were some rallies, yes.

Q All right, and was that general feeling discussed at those
~rallies?

A I think that it was. I was not present at the rallies.

Q Were those rallies publiciaed, to the best of your
knowledge?

A I think there were some articles in the newspapers.

Q Did you discuss at anytime pretrial, or interview wit-

nesses, regarding the issue of potential change of venue?

Karl Adkins - Direct 45

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l k Did I, personally?
§i“ 2 Q ' Yes.
` 3 A I don't recall that, but I don't think I did.

4 Q Do you recall whether anybody in your firm did, either
5 under your direction or under Mr. Fuller's direction?

6 A I don't remember.

7 Q All right. Now, you made reference to Cannon Mills.

g What was the relationship to this case of Cannon Mills?

9 A The victim in the case was the widow of a former Cannon
10 Mills executive.

n Q As such, what was your concern about that?
-]2 A That because of the real or perceived feeling that Cannon
13 Mills ran this county, that it would be very difficult to

14 keep those kinds of feelings out of this courtroom.

15 Q Would this case not normally in your practice, Mr. Adkins,

have called for at least a motion to consider change of venue?

 

16
\r»
17 A I think given the limitations of where we were likely to
18 end up, that we -- we certainly talked about it, and I think
19 we talked with Ronnie about it, and -_
20 g I'm not asking you what Ron said.
m k No, I'm not going to tell you what he said because I
22 don't remember what he said, but there was a lot of discus-
23 sion within our office about where we would likely end up,
r;i’&'§.\§';» _ ~ 1 '
`jg 24 where we» would be better off; it wasn t likely that we
25 would end up in Charlotte.

Karl Adkins - Direct 46

 

 

 

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Q You were trying to go to Charlotte if you could?

A No, I'm saying it was unlikely that we would, and the
alternatives that Fuller talked about were not very appealing
either.

Q Were you familiar with what counties encompassed Judicial

District 19 in 1976?

A I'm sure I was in 1976 but I can't tell you now what they_
are.

Q All right, you all were concerned about Salisbury, Rowan
County?

A Rowan County and seems to me maybe Albemarle.

Q Albemarle, which is Stanly County, for the record?

A Right.

Q And Monroe?

k I don't specifically recall Monroe but that might have
.been.

Q Did you ever consider Randolph or Montgomery counties?

A 'We considered all the counties that we felt like the
case might get moved to; now whether Randolph and Montgomery
were in that group or not, I don't remember.

Q Did you handle most of the search and seizure issue at
the trial? I believe you reviewed some of that prior to --
A I believe I did.

Q Did you at any time discuss the case with David Taylor?
Do you recall?

Karl Adkins - Direct 47

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1 A I don't remember; Who is David Taylor?

2 Q Did you at any time discuss the case with any of the

3 detectives in the case prior to the trial?

4 l A l have been refreshed that we did talk with some officers
5 but I couldn't tell you specifically which ones.

6 Q You don't remember whether they were the officers who

7 testified at trial or not, do you?

8 k I know we would not have talked to officers who were not
9 involved in the investigation.
‘o 4 Q Did you ever at any time seek discovery from the State

ll on the issue of the search?

12 k I don't remember.

13 Q Did you at any time -- do youxecald.whether you sought

14 discovery as to certain nontestimonial items which were taken

15 off Mr. Long?

16 A , I just don‘t remember whether there were any formal

17 motions,

18 Q All right. In reviewing the -- you reviewed the record

19 on appeal, I believe, did you not? Or some parts of it?

26 k I looked at parts of it, right.

21 Q . Okay. Do you recall why you did not argue totality of

22 the circumstances on the issue of consent?

23 j »A. No.

24 Q Is that, to your knowledge, an issue on the issue of

25 y consent search, totality of the defendant's circumstances?
Karl Adkins - Direct 48

 

 

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A I believe it is.

Q All right. Would you agree, sir, that it is appropriate
and standard to prepare motionsv prior to presenting them in
the courtroom, as a rule? 2

k Prepare? I would not argue a motion that I had not
prepared, if that's what you're asking.

Q Would you agree that it is appropriate to investigate
motions and facts surrounding them prior to making them in
the courtroom?

A Yes, sir.

Q Do you recall whether or not any issues on the jury list
were subpoenaed? Was the jury list subpoenaed?

k I don't remember.

Q Do you recall whether or not the master list ever made
it to the courtroom?

A I don't remember.

Q Do you recall whether or not -- well, would you agree,
having filed the brief, that the transcript would speak for
itself?

A Yes, whatever happened happened; I just don't remember
after eleven years. `

Q All right. Thank you.

THE COURT: Mr. Roberts,

`CROSS'EXAMINATION BY MR. ROBERTS:

 

Q Mr. Adkins, you were asked about discovery. Now, the

Karl Adkins - Cross 49

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nl State's discovery laws had not been enacted at the time this
(;, 2 case was tried, had they been, sir?
3 A To the best of my recollection the discovery laws now
4 are different than they were then.
5 Q Yes. And do you have a recollection, Mr. Adkins, as to
6 whether or not my office provided for you, notwithstanding
7 the absence of law, virtually an open file for your prepara-
511 tion of your defense?

9 A I believe that's correct.

‘\_/'

10 Q And I believe, as Mr. Fuller testified, that on at least
11 one occasion that I made the arrangements for you to interview
12 the arresting officer, or whoever it was you were having

13 difficulty talking to?

14 A I don't have any independent recollection of that, Mr.
15 Roberts,

1¢ Q All right, sir. And with regard to the search and

17 seizure of certain evidence, upon the State's attempt to
introduce it, objection was made and a voir dire was conducted

18

19 with regard to search, was it not?

 

 

`20 A Yes, sir.
21 Q 1 And after hearing extensive testimony from the defense
22 and the State, the Court ruled that the items were admissible?
23 k That is correct.
€¥' 22 Q And one of your issues on your appeal was the admissi-
bka: 125 bility through a consent search and the Supreme Court of the

Karl Adkins - Cross - 50

 

 

 

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State of North Carolina ruled that the search, based on the
totality of circumstances, was consensual, Justice Moore

writing that opinion, is that not correct?

I believe that's correct.
MR. ROBERTS: Thank you very much, Mr. Adkins.
THE COURT: Anything further from this witness?
MR. GROSSMAN: N_o.'
THE COURT: Mr. Adkins, you may stand down,

(The witness is excused.)

JGHN KENNEDY, being duly sworn; testified as follows:

 

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1976?

 

P'Q;>»Q;>p;>

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DIRECT EXAMINATION BY MR. GROSSMAN:

State your name, please,

My name is John Kennedy.

Mr. Kennedy, what is your occupation?.

I'm the executive editor of the Concord Tribune.

Mr. Kennedy, what was your occupation in September of

I was managing editor of the Concord Tribune.

As such, did you have an employee named hale Ritchie?
I did.

Did you review her articles?

I have, briefly, yes.

Were you her supervisor at that time?

Yes, I was.

Did you check with her regarding her articles?

John Kennedy - Direct 51

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A At that time, yes.

Q Did you try to determine whether those articles were
factually correct?

A Yes, sir, we certainly did.

Q To the best of your knowledge, your independent knowledge
were those articles factually correct?

A They were, l

Q Have you reviewed the general circulation of the Concord

Tribune in 1976?

A Yes, sir.
0 What is that general circulation?
A Eleven thousand two hundred.

Q Do you recall the population of Cabarrus County in 1976,
approximately?

A ' Population, eighty thousand.

Q Total, in the City of Concord?

A

About eighteen thousand.

0 Okay. Now, do you remember when this crime occurred?

A In reviewing the files, it occurred in April of '76.

Q All right, and do you recall when the trial was held?

A September, early October.

0 Describe generally the Tribune‘s coverage at that time of
the trial,

A I think the Tribune coverage was, as with any trial of

major, on a major crime, it was substantial but reasonable.

John Kennedy - Direct 52

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0 All right. Did you report each and every day of the

trial?

A Yes, sir.

Q Did you report -- have you been sitting here all morning?
A No, sir.

Q Have you been here the majority of the morning?

A l have been here since about ll:15 to ll:20.
0 All right, sir. Do you recall these rallies on behalf

of Mr. Long that we have been discussing?

A Yes, sir, I certainly do.
Q Describe those rallies as you know of them,
k They were -- there was a number of supporters of Mr. Long

who felt that, obviously that he had been improperly charged
and accused, mostly young people, mostly college aged, some
adults, most of them were black, a portion of them were white
citizens.

0 In the.community at that time -- were you active in the
Community as the editor of the Tribune?

A Yes, sir.

d As such did you go out in the community to talk with
folks to prepare your news articles or to discuss current
events? If you would state orally for the record,

A YeS.

Q As such, did you talk with folks generally about State
versus Long?

John Kennedy - Direct 53

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